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6                          UNITED STATES DISTRICT COURT

7                         EASTERN DISTRICT OF CALIFORNIA

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9    UNITED STATES OF AMERICA,              No. 2:15-cr-190-GEB
10                   Plaintiff,
11       v.                                 ORDER
12   MICHAEL ROMANO,
13                   Defendant.
14

15              On August 8, 2018, the United States of America filed

16   on the public docket a “NOTICE TO SEAL DOCUMENT” “giving notice

17   that it has submitted a Request to Seal a three-page motion

18   relevant   to    defendant   Michael    Romano   and   a   proposed   order

19   granting the United States’s Request.”           Notice to Seal 1:17–18,

20   ECF No. 418.     The Notice does not also make clear that the United

21   States seeks to file under seal a separate document entitled

22   “REQUEST TO SEAL DOCUMENT.”         Further, the referenced proposed

23   order fails to include the “REQUEST TO SEAL DOCUMENT,” which the

24   United States submitted for in camera review along with two other

25   documents, in the list of items to be sealed.          However, an email

26   the United States addressed to the undersigned judge’s Courtroom

27   Deputy Clerk — to which is attached a motion, a request to seal

28   document, and a proposed order — suggests that the United States
                                         1
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1    desires these three documents to be filed under seal.

2                A portion of the motion includes arguments addressing

3    sentencing factors in 18 U.S.C. § 3553(a); however, the United

4    States has not shown that the referenced portion of the motion

5    should be considered in secrecy in light of the content of the

6    Notice,    and   the    requirement        in      18    U.S.C.    §   3553(c)    that    a

7    sentencing judge state in open court the reasons for imposition

8    of the particular sentence.             See Rita v. United States, 551 U.S.

9    338, 356 (2007) (stating “18 U.S.C. § 3553(c) . . . requires a

10   sentencing judge, ‘at the time of sentencing,’ to ‘state in open

11   court     the    reasons      for    its         imposition       of   the     particular

12   sentence.’”);     see       generally   Phoenix          Newspapers,     Inc.    v.   U.S.

13   Dist. Court, 156 F.3d 940, 951 (9th Cir. 1998) (stating: “All too

14   often,    parties      to    the    litigation          are   either    indifferent      or

15   antipathetic to [their burden under sealing jurisprudence].                            This

16   is to be expected: it is not their charge to represent the rights

17   of others.”).

18               Since the scope of secrecy the United States seeks has

19   not been shown justified, the emailed documents submitted for in

20   camera review are deemed returned to the United States so that it
21   can decide what to do in light of this ruling.                         See E.D. Cal. R.

22   141(e)(1) (prescribing that if a sealing “[r]equest is denied in

23   full or in part, the Clerk will return to the submitting party

24   the documents for which sealing has been denied”); United States

25   v. Big Leggins, 375 F. App’x 692, 693 (9th Cir. 2010) (indicating

26   that the district court had authority to issue the directive that
27   defendant “could either withdraw the report or resubmit it in

28   redacted    form”);     United      States       v.     Baez–Alcaino,    718     F.   Supp.
                                                  2
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1    1503,   1507   (M.D.    Fla.   1989)   (remarking   that   after   denying   a

2    sealing request a judge may “return[] [the documents] to the

3    submitting party,” who may then decide how to proceed).

4               Dated:      August 13, 2018

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